                                        April 1, 2025



U.S. Bankruptcy Court
211 W. Fort Street
Detroit, MI 48226

         Re:   Kim M. Rattet
               (P62616)

To Whom It May Concern:

      Please be advised, effective April 1, 2025, Kim M. Rattet (P62616) is no longer affiliated
with OSIPOV BIGELMAN, P.C. As of that date, Yuliy Osipov (P59486) will handle the firm’s
bankruptcy cases.

       Should you have any questions or concerns regarding this matter, please do not hesitate to
contact our office to discuss. Thank you for your attention regarding this matter.

                                           Sincerely,

                                 OSIPOV BIGELMAN P.C.

                                       <XOL\2VLSRY
                                      Yuliy Osipov, Esq.
                         Board Certified - Consumer Bankruptcy Law
                              American Board of Certification
                         Direct Line: 248.663.1805 / yo@osbig.com

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